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1700 G Street NW, Washington, D.C. 20552




March 2, 2021

VIA ECF

The Honorable Maryellen Noreika
United States District Judge
United States Courthouse
844 N. King Street
Wilmington, DE 19801

RE: Consumer Financial Protection Bureau v. National Collegiate Master Student Loan Trust,
     et al., No. 17-cv-01323 (MN)

Dear Judge Noreika:

      Plaintiff Consumer Financial Protection Bureau writes in response to Intervenor Ambac
Assurance Corporation’s (Ambac) letter of March 2, 2021. D.I. 357.

         Ambac’s letter notes that the district court in CFPB v. Navient Corp., No. 17-cv-101
(M.D. Pa.), recently certified for interlocutory appeal its decision with respect to equitable
tolling. The Third Circuit has not yet determined whether it will accept that appeal. Ambac
nonetheless finds it necessary to bring to this Court’s attention the Navient court’s view that
there are “substantial grounds for difference of opinion” whether equitable tolling is available
under 12 U.S.C. § 5564(g)(1), which by its terms does not bar actions “otherwise permitted by
… equity.” The Bureau respectfully disagrees with the Navient court’s conclusion on that point.
What matters for this Court’s resolution of the motion before it, however, is that the Navient
court held that equitable tolling is available and also held—as has every other court to consider
the issue—that the Bureau’s enforcement action could proceed in the wake of Seila Law.

        That the Navient court thought interlocutory appeal appropriate under the circumstances
of that case sheds little light on this Court’s resolution of Ambac’s motion to dismiss. This is




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particularly so given that the Court need not even reach the issue of equitable tolling unless it
first concludes both: (1) that the Bureau did not satisfy the statute of limitations in 12 U.S.C.
§ 5564(g)(1) when it filed suit within the specified limitations period; and (2) that the former
issue of the Bureau Director’s removability meant that the Bureau was not able to satisfy the
statute of limitations by filing suit timely but was able to “discover” a violation such that the
limitations clock began to run. For the reasons the Bureau has previously explained, the Court
should reject both of these premises. Should the Court disagree, it should join the Navient court
in concluding that the limitations period was equitably tolled in this case.


Dated: March 2, 2021

                                             Respectfully submitted,


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                                             Consumer Financial Protection Bureau

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on March 2, 2021, I electronically filed Plaintiff’s Response to Ambac’s
Notice of Supplemental Authority with the Clerk of Court using CM/ECF which will send
notification of such filing to all parties to this matter registered for CM/ECF.

Dated: March 2, 2021

                                                              /s/ Gabriel Hopkins
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                                                              Financial Protection Bureau




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